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                           United States District Court
                            Middle District of Florida
                                Orlando Division


 Jean Louis Barreto-Baerga,

              Plaintiff,

 v.                                             NO. 6:25-cv-00098-PGB-LHP


 Osceola County, Florida; Marcos Lopez;
 David Crawford; Christopher Koffinas;
 Joseph DeJesus; Arturo Dominguez;
 and Benjamin Maclean,

              Defendants.



                Unopposed Motion for Special Admission

       Stephen H. Weil, Esquire, moves for special admission to represent

 Plaintiff Jean Louis Barreto-Baerga in this action.


       I am not a member in good standing of The Florida Bar.


       I am a member in good standing of a bar of a United States district court;

 specifically, Northern District of Illinois.


       I have not abused the privilege of special admission by maintaining a

 regular law practice in Florida. I have initially appeared in the last thirty-six

 months in these cases in state or federal court in Florida:



                                          1
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       McCrimmon v. Centurion of Florida LLC et al., 3:20-cv-36-BJD-LLL
      (M.D. Fla.).

      I will comply with the federal rules and this Court’s local rules.


      I am familiar with 28 U.S.C. § 1927, which provides:


      Any attorney or other person admitted to conduct cases in any court of
      the United States or any Territory thereof who so multiplies the
      proceedings in any case unreasonably and vexatiously may be required
      by the court to satisfy personally the excess costs, expenses, and
      attorneys’ fees reasonably incurred because of such conduct.

      I have paid the fee for special admission or will pay the fee upon special

 admission.


      I will register with the Court’s CM/ECF system.


      I affirm the oath, which states:

      I will support the Constitution of the United States. I will bear true faith
      and allegiance to the government of the United States. I will maintain
      the respect due to the courts of justice and all judicial officers. I will well
      and faithfully discharge my duties as an attorney and officer of this
      Court. I will conduct myself uprightly and according to the law and the
      recognized standards of ethics of the legal profession.

                                                        /s/ Stephen H. Weil


                      Local Rule 3.01(g) Certification


      I have conferred with the opposing party and represent the opposing

 party unopposed to my special admission.


                                            2
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 TITLE OF COURT                                    DATE OF ADMISSION

 Illinois Supreme Court                                   | November 30, 2006

 U.S.D.C. Illinois Northern District Court                | November 15, 2011

 U.S.D.C Illinois Central District Court                  | May 26, 2017

 U.S.C.A for the Sixth Circuit                            | March 15, 2012

 U.S.D.C Illinois Southern District Court                 |September 5, 2018

 U.S.C.A for the Seventh Circuit                          | July 9, 2021

 U.S.D.C. Wisconsin Western District Court                | January 26, 2023

 U.S.D.C. District of Columbia District Court             |October 2, 2023

 U.S.D.C. Michigan Western District Court                 |June 27, 2024



 Please note that I, Stephen H. Weil, am in good standing in all the Courts
 listed above.
Certificate of Good Standing                                             https://ilnd-ecf.sso.dcn/atyAdmission/991436Certificate.htm
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                                CERTIFICATE OF GOOD STANDING




                     United States of America
                                                                 }ss. Stephen H. Weil
                     Northern District of Illinois



                           I, Thomas G. Bruton , Clerk of the United States District Court
                     for the Northern District of Illinois,

                          DO HEREBY CERTIFY That Stephen H. Weil
                     was duly admitted to practice in said Court on (11/15/2011)
                     and is in good standing as a member of the bar of said court.


                     Dated at Chicago, Illinois
                     on (01/21/2025 )


                                                             Thomas G. Bruton , Clerk,

                                                             By: Declan E. Dolan
                                                                 Deputy Clerk




            THOMAS G. BRUTON, CLERK

                                                                                     January 21, 2025

            (By) DEPUTY CLERK                                                        DATE

1 of 1                                                                                                        1/21/2025, 11:24 AM
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